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feo ree Ba pei 00228 -JLH-JTR’ Document 29°. fase
UNIT LEVEL GRIEVANCE FORM Astccateine D- e FOR OFFICE USE ONLY

_ al We | GRV. #

Name Hy: 4 " Bs /, Date Received:

ADCH ST 448 Brks # /4- 0) “Tob Assignment GRW Code #
ja: -2-/} (Date) STEP ONE: Informal Resolution, ee ee

_ (ate) STEP TWO: Formal Grievance (All A should first be handled informally.) 9
If the issue was not resolved during ane One, state way: :

 

 

 

 

 

 

, (Date) EMERGENCY GRIEVANCE (An: emergency situation is one in which you may be subject to
ka a substantial risk of physical harm: emergency grievan¢es are not for ordinary problems that are not of serious

_ nature). If you marked yes, give this completed form to the designated probiee-tolving staff who will sign the
attached emergency See, In an Emergency, state why: -

 

 

 

 

 

Ds this Grievance concerning Medical or Mental Health Gia? a. _ Ty ‘yes, circle one: .medical.or mental a
BRIEFLY state your one complaint/concern and be. specific as to the om nplaint, di g, place, name of personnel a a
.. involvec and how you were affected. (Please Print Aig: by Rr n steed pete hs tf Cs i A
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ans} (Yes or No). This form was forwarded to medical or mental healf (Yes or No).. If'yes, name
F. . of the person in that department receiving this form: __- on ee “Date te
ee Oe ek Ne weet wz Hi 2 Co) as ge 19:

;' PRINT STAFF NAME (PROBLEM SOLVER) ID Nuwber ~~ Staff Sigdhture, / . Date Received

; Describe action taken to resolve complaint, including dates: _ 2:

 

 

 

Staff Signature & Date Returned _ z uate Si d
| This form wasreceivedon___. date), putea to. Sie. ‘Two. Is itanEmergency? (Yes or No).

  

 

'. Staff Who Received Step Two Grieva Date:
a Action Taken: A F orwarded to Grieve Ogee Weeden Other) Date:
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f DISTRIBUTION: YELLOW & PINK - Inmate Receipts; BLUE - Grievance 5 Office: ‘ORIGINAL - Given back.
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ae A

Arkansas Department of Correction

we
& Inmate Trust Fund Account

Personal Withdrawal Request

Cum mivs
ADC Unit

\ vi «lon urns $5193) I-30

Print Inmate Name ADC Number Barracks Number

 

All Information Requested On This Form Is To Be Printed
Postage Expense Will Be Charged By Trust Fund Centralized Banking For Each Request

Date of Request q. a g- | + Amount of Request $

Dollars
Check is to be Payable To: (Man Ko om

Check is to be Mailed To: Name

Street or P.O. Box
City, State, Zip
Purpose of Withdrawal Request “Pos 4, st C Ze Tegal Na ).

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Inmate Signature 7 ADC Witnessed Signature

Approved: CircleOne YES ~ RECEN

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Reason for Denial § CUMMINS UNIT
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Signature Warden/Warden Designee

 

 

Business Manager — Print Name Business Manager Signature

TrustFund Centralized Banking: Inmate Funds Available—Circle One: Yes No
